






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00050-CV






John Worldpeace, Appellant


v.



State of Texas, Appellee





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT


NO. GV502304, HONORABLE GISELA D. TRIANA, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	Appellant John Worldpeace filed his notice of appeal on January 25, 2006 and the
clerk's record was filed on June 26, 2006.  On August 3, 2006, the Clerk of this Court sent
Worldpeace notice that his brief was overdue and that his appeal would be dismissed for want of
prosecution if he did not respond to this Court by August 14, 2006.  To date, appellant has not
responded to this Court's notice.  Accordingly, we dismiss the appeal for want of prosecution. 
Tex. R. App. P. 42.3(b), (c).


					__________________________________________

					Bob Pemberton, Justice

Before Justices B. A. Smith, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   September 13, 2006


